

Matter of Jakhian (2025 NY Slip Op 01857)





Matter of Jakhian


2025 NY Slip Op 01857


Decided on March 27, 2025


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:March 27, 2025

PM-87-25
[*1]In the Matter of GrÉgoire Jakhian, an Attorney. (Attorney Registration No. 2342962.)

Calendar Date:March 17, 2025

Before:Garry, P.J., Egan Jr., Clark, Fisher and McShan, JJ.

GrÉgoire Jakhian, Brussels, Belgium, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
GrÉgoire Jakhian was admitted to practice by this Court in 1990 and lists a business address in Brussels, Belgium with the Office of Court Administration. Jakhian now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Jakhian's application.
Upon reading Jakhian's affidavit sworn to February 21, 2025 and filed March 7, 2025, and upon reading the March 13, 2025 correspondence in response by the Deputy Chief Attorney for AGC, and having determined that Jakhian is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Garry, P.J., Egan Jr., Clark, Fisher and McShan, JJ., concur.
ORDERED that GrÉgoire Jakhian's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that GrÉgoire Jakhian's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that GrÉgoire Jakhian is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Jakhian is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that GrÉgoire Jakhian shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








